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                         BEFORE THE UNITED STATES JUDICIAL PANEL
                              ON MULTIDISTRICT LITIGATION



    In re:

    INSULING PRICING LITIGATION                          MDL Docket No. 3080




                INTERESTED PARTY RESPONSE OF THE STATE OF LOUISIANA


             The State of Louisiana is a plaintiff in its own courts,1 wherein it makes allegations

regarding the improper pricing of insulin by the insulin manufacturers and the pharmacy benefit

managers. On April 19, 2023, two defendants filed removal papers, removing the case to the

Middle District of Louisiana.2 On May 19, 2023, the State of Louisiana filed a motion to remand

the case back to state court. This remand motion is pending.

             Thereafter, on June 15, 2023, Louisiana’s case was listed in a “Notice of Related Actions

from JPML” at ECF No. 43, which included Louisiana’s state court petition as an exhibit.

Louisiana notes that no party has yet sought to include Louisiana’s case in any transfer pursuant

to §1407. Rather, it has simply been listed as a potentially related case. Such a transfer is not

permissible under the recently enacted State Antitrust Enforcement Venue Act of 2022, which

exempts Louisiana’s case from a §1407 transfer because the Louisiana Attorney General asserts

claim under its state antitrust laws, the Louisiana Monopolies Act, La. R.S. §51:121, et seq., against



1
  State of Louisiana v. Sanofi-Aventis LLC, NovoNordisk, Inc., CaremarkPCS Health, LLC, Express Scripts
Administrators, LLC d/b/a Express Scripts; CVS Health Corp., and OptumRx, Case Number C-729791, pending in
the 19th Judicial District Court for the Parish of East Baton Rouge, State of Louisiana.
2
  Case number 23-cv-00302.

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the defendants. Such cases are explicitly exempted from being transferred to a Multi-District

Litigation (“MDL”).

       The State Antitrust Enforcement Venue Act of 2022 modified 28 U.S.C. §1407(g) and (h)

in the following manner (additions in bold, deletions in strike-through):

       (g) Nothing in this section shall apply to any action in which the United States or
       a State is a complainant arising under the antitrust laws. “Antitrust laws” as used
       herein include those acts referred to in the Act of October 15, 1914, as amended
       (38 Stat. 730; 15 U.S.C. 12), and also include the Act of June 19, 1936 (49 Stat.
       1526; 15 U.S.C. 13, 13a, and 13b) and the Act of September 26, 1914, as added
       March 21, 1938 (52 Stat. 116, 117; 15 U.S.C. 56); but shall not include section 4A
       of the Act of October 15, 1914, as added July 7, 1955 (69 Stat. 282; 15 U.S.C. 15a).

       (h) Notwithstanding the provisions of section 1404 or subsection (f) of this section,
       the judicial panel on multidistrict litigation may consolidate and transfer with or
       without the consent of the parties, for both pretrial purposes and for trial, any action
       brought under section 4C of the Clayton Act.

       The addition of “or a State” now renders antitrust actions by a state similarly exempt

from MDL transfers as was already the case with antitrust actions by the federal government.

And the reference to “antitrust laws” is not limited to any specific set of statutes, though certain

federal statutes are specifically enumerated. Indeed the use of the term “antitrust laws” is used

without definition, incorporating its common meaning, which includes the antitrust laws of the

several states. For instance, the Antitrust Division of the United States Department of Justice

consistently explains that the “antitrust laws” include both federal and state antitrust laws.

       Many consumers have never heard of antitrust laws, but enforcement of these laws
       saves consumers millions and even billions of dollars a year. The Federal
       Government enforces three major Federal antitrust laws, and most states also
       have their own. Essentially, these laws prohibit business practices that
       unreasonably deprive consumers of the benefits of competition, resulting in higher
       prices for products and services.3


3
   “Antitrust Laws and You”, United States Department of Justice, Antitrust Division, available at
https://www.justice.gov/atr/antitrust-laws-and-you#:~:text=the%20Consumer%20guide.-
,The%20Sherman%20Antitrust%20Act,are%20punishable%20as%20criminal%20felonies (downloaded June 20,
2023, emphasis added).

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And in similar fashion:

       Many consumers have never heard of antitrust laws, but when these laws are
       effectively and responsibly enforced, they can save consumers millions and even
       billions of dollars a year in illegal overcharges. Most States have antitrust laws,
       and so does the Federal Government. Essentially, these laws prohibit business
       practices that unreasonably deprive consumers of the benefits of competition,
       resulting in higher prices for inferior products and services.4

       The language “these laws” refers to both federal and state antitrust laws. Accordingly, the

amendment to §1407 providing State Attorneys General a means of staying in their home forum

extends to those cases where they assert causes of action under either federal or state antitrust laws.

And indeed, any contrary interpretation would yield illogical results, whereby a State asserting a

federal antitrust claim could avoid an MDL, but a State asserting only state law antitrust claims

would wind up not only losing its choice of forum, but could be transferred into an MDL. Such

differential impact is surely not the intent of the State Antitrust Enforcement Venue Act. Yet, if this

contrary interpretation were adopted, such differential impact would be the case here, where

Louisiana has filed state law claims only (including under the Louisiana Monopolies Act), in state

court, and is currently seeking remand after having been wrongfully removed to federal court.

       The necessity of including state antitrust laws within the scope of §1407’s revision is also

made clear by how common it is for States to allege state antitrust causes of action rather than

federal causes of action. This is because in most circumstances states are indirect purchasers of the

goods and services forming the subject of the lawsuit and have no standing under federal antitrust

law (i.e., the Illinois Brick “direct purchaser” rule).5 As such state attorneys general frequently rely

exclusively on their own states’ laws when asserting antitrust causes of action. In order for the




4
    “Antitrust Enforcement and the Consumer”, United States Department of Justice, available at
https://www.justice.gov/atr/file/800691/download (downloaded June 20, 2023, emphasis added).
5
  Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977).

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State Antitrust Enforcement Venue Act to have any practical significance then, the reference to

“these” “antitrust laws” must include state as well as federal antitrust laws.

        Accordingly, the State of Louisiana submits that its case is not eligible for transfer under

28 U.S.C. §1407. Upon the completion of remand briefing, Louisiana thereafter expects to return

to its own courts to litigate its case, but in any event not as part of this proposed Multi-District

Litigation. As part of that remand process, Louisiana also hereby submits the very recent opinion

from the Central District of California, granting a nearly identical remand motion filed by The

People of the State of California regarding this same insulin pricing scheme as involved here.6

Given the similarities between the cases (and Louisiana’s reply brief in support of remand being

due on July 14, 2023), Louisiana’s expectation of returning to its own courts is a reasonable one,

and further supports leaving its case outside the purview of any Multi-District Litigation.

                                 Respectfully submitted,

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6
 Order Granting Plaintiff’s Motion to Remand, ECF No. 109, dated June 28, 2023, in The People of the State of
California v. Eli Lilly and Company, et al., No. 23-cv-01929-SPG-SK, Central District of California.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of July, 2023, the foregoing pleading was electronically
filed with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all
counsel of record by operation of the Court’s electronic filing system.

                                  /s/ John Alden Meade
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